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 Patent and Exclusivity for: N208686

      Product 001
      ENALAPRIL MALEATE (EPANED) SOLUTION 1MG/ML



      Patent Data

      Product No               Patent No            Patent Expiration                  Drug Substance                Drug Product                  Patent Use Code                               Delist Requested                 Submission Date

      001                      9669008              03/25/2036                                                       DP                                                                                                           06/09/2017

      001                      9808442              03/25/2036                                                                                     U-3 U-71 U-185 U-1723 U-1892                                                   11/20/2017

      001                      10039745             03/25/2036                                                       DP                                                                                                           08/23/2018

      001                      10154987             03/25/2036                                                                                     U-3 U-71 U-185 U-1723 U-1892                                                   01/04/2019

      001                      10772868             03/25/2036                                                       DP                                                                                                           09/23/2020

      001                      10786482             03/25/2036                                                       DP                                                                                                           10/08/2020

      001                      11040023             03/25/2036                                                       DP                                                                                                           06/25/2021



      Exclusivity Data

      Product No                                                    Exclusivity Code                                                                        Exclusivity Expiration

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